
In re Fisher, Daniel; — Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. D, No. 98-4943; to the Court of Appeal, Fifth Circuit, No. 01-KH-986.
Writ granted in part; otherwise denied. If it has not done so already, the district court is ordered to supply relator with a copy of his guilty plea colloquy. State ex *22rel. Simmons v. State, 93-0275 (La.12/16/94), 647 So.2d 1094. In all other respects, the application is denied. State ex rel. Bernard v. Cr.D.C., 94-2247, p. 1 (La.4/28/95), 653 So.2d 1174, 1175.
